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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA                      )
                                              )      Case No. 20-MJ-365-2 (HB)
              v.                              )
                                              )
BAILEY MARIE BALDUS                           )


                GOVERNMENT’S AGREED MOTION TO DISMISS

      Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United

States Attorney for the District of Minnesota hereby moves the Court to dismiss the

pending criminal charge, namely, the Criminal Complaint (Dkt. 7) against defendant

Bailey Baldus, without prejudice, in the interests of justice.   Fed. R. Crim. P. Rule

48(a) provides that the government may, with leave of court, dismiss an indictment

information, or complaint. The undersigned has communicated with defense counsel

Daniel Guerrero, who joins this motion.

      1.      On June 9, 2020, Ms. Baldus was arrested as result of a complaint

charging her with conspiracy to commit arson, in violation of Title 18, United States

Code, Section 371. She had her initial appearance that day, and was subsequently

released on bond.

      2.      The government is continuing its investigation into this matter,

including reviewing material seized pursuant to search warrants and reviewing other

evidence to determine the scope of the alleged conduct by Ms. Baldus and others.
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      3.      The parties have continued to confer about Ms. Baldus’s alleged conduct,

which the government anticipates will result in an appropriate resolution that

obviates the need for the current pending charge against Ms. Baldus.

      Accordingly, with the defendant’s consent and pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure, the government hereby moves the Court to

dismiss the pending charge against defendant Bailey Baldus.

Dated: July 1, 2020                     Respectfully submitted,

                                        ERICA H. MacDONALD
                                        United States Attorney

                                        s/Matthew S. Ebert
                                 BY:     MATTHEW S. EBERT
                                        JOSEPH S. TEIRAB
                                        Assistant United States Attorneys




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